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                                       UNITED STATES DISTRICT COURT
                                        DISTRICT OF MASSACHUSETTS
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                                                                                             :   MDL Docket No. 1629
In re: NEURONTIN MARKETING, SALES                                                            :
          PRACTICES AND PRODUCTS                                                             :   Master File No. 04-10981
          LIABILITY LITIGATION                                                               :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x   Judge Patti B. Saris
                                                                                             :
THIS DOCUMENT RELATES TO:                                                                    :   Magistrate Judge Leo T.
                                                                                             :   Sorokin
          Bulger v. Pfizer Inc., et al., 1:07-cv-11426-PBS                                   :
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 DEFENDANTS PFIZER INC. AND WARNER-LAMBERT COMPANY LLC’S
REPLY TO PLAINTIFFS’ RESPONSE TO LOCAL RULE 56.1 STATEMENT OF
    MATERIAL FACTS AND RESPONSE TO PLAINTIFF’S FURTHER
                STATEMENT OF MATERIAL FACTS

                    Defendants         Pfizer       Inc.     and      Warner-Lambert              Company      LLC

(“defendants”) submit the following reply to Plaintiffs’ Response to Defendants’ Local

Rule 56.1 Statement of Undisputed Material Facts, and response to Plaintiff’s Further

Statement of Material Facts.

I.        REPLY TO PLAINTIFF’S RESPONSES TO DEFENDANTS’ LOCAL
          RULE 56.1 STATEMENT OF UNDISPUTED MATERIAL FACTS

          Set forth below is each material fact included in defendants’ Local Rule 56.1

Statement of Undisputed Material Facts, along with plaintiff’s response to each, followed

by defendants’ reply:




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         1.       Mrs. Bulger’s primary care physician, Dr. Crognale, testified that his

decision to prescribe Neurontin was based on his own experience with the drug and his

medical training. Crognale Dep. 173:10-13 (Sayler Decl., Ex. 1.)1

         Plaintiffs' Response to No. 1: Disputed. Plaintiff submits that paragraph 1 of
Defendants’ Statement of Facts is incorrect or otherwise incomplete. Dr. Crognale
testified that he relied upon the Physician’s Desk Reference (PDR), a commercially
published compilation of drug company labels, before prescribing a drug. Crognale Dep.
16:17-17:13 (Finkelstein Decl., Ex. 10). Dr. Crognale’s practice is to discuss the side
effects relevant to his patients as set forth in a drug company’s label. Crognale Dep. 37:3-
18 (Finkelstein Decl., Ex. 10). Dr. Crognale, in discussing his prescribing practices and
risk/benefit analyses for prescribing a drug to Mrs. Bulger, wanted to know about (a)
Neurontin’s mechanism of action and Neurontin’s effect on neurochemistry (serotonin)
Crognale Dep. 195:12-196:6 (Finkelstein Decl., Ex. 10); (b) suicide attempts during
clinical trials Crognale Dep. 191:11-17 (Finkelstein Decl., Ex. 10); (c) depression adverse
events during clinical trials Crognale Dep. 197:4-198:2 (Finkelstein Decl., Ex. 10); and
(d) that patients taking Neurontin may suffer mood and behavioral disturbances. Crognale
Dep. 200:5-200:14 (Finkelstein Decl., Ex. 10).

       Defendants’ Reply to Fact No. 1:               Plaintiff’s response ignores the sworn
testimony of Dr. Crognale:


                  Q.       Independent of the medical records, do you have any
                           recollection of why you prescribed Neurontin for Mrs.
                           Bulger?
                  A.       No, I do not.
                  Q.       Was it based on your, in an effort to refresh your
                           recollection, your experience with the drug and your
                           medical training?
                  A.       Yes.

                  Crognale Dep. 173:6-13 (Sayler Decl., Ex. 1.)

         Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. Dr. Crognale testified that he
refers to the PDR before he prescribes a drug that he has not prescribed before. He never
testified that he relies on the PDR in general in prescribing medications, nor that he even
reviewed the PDR before prescribing Neurontin to Mrs. Bulger, let alone that he relied on
the PDR for this purpose. In fact, Dr. Crognale testified that he does not refer to the PDR
annually for drugs he prescribes on a regular basis. Crognale Dep. 16:17-17:17.


1
  “Sayler Decl.” refers to exhibits attached to the Declaration of Scott W. Sayler, Esq. in Support of Motion
for Summary Judgment, filed January 23, 2009 (Dkt. # 1640.)

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(McGroder Decl., Ex. 1.)2 Further, what Dr. Crognale may or may not tell patients and
what he “wanted to know” is immaterial to this fact, which deals with the bases for Dr.
Crognale’s decision to prescribe Neurontin.


        2.       Dr. Crognale testified that he recalled receiving a visit from one of

defendants’ sales representatives sometime within the last five years regarding Neurontin

in which the side effects of sedation and dosing were discussed. Dr. Crognale could not

recall to what indication this conversation related. Crognale Dep. 166:24-171:9 (Sayler

Decl., Ex. 1.)

         Plaintiffs' Response to No. 2: Disputed. Plaintiff submits that paragraph 2 of
Defendants’ Statement of Facts is incorrect or otherwise incomplete. Dr. Crognale
testified that he recalled receiving information directly from a representative at either
Warner-Lambert, Parke-Davis or Pfizer about Neurontin. Crognale Dep. 166:24-167:4
(Finkelstein Decl., Ex. 10). Dr. Crognale testified that his only recollection of
information from a drug representative directly was a conversation in which the side
effects of sedation and dosing were discussed. Dr. Crognale could not recall to what
indication this conversation related. However, Dr. Crognale testified that he was sure
that there were other discussions. Crognale Dep. 169:18-169:20 (Finkelstein Decl., Ex.
10). Dr. Crognale testified that the “the exchange would have been in context of the
representative telling us about the medication, and in discussion of side effects making an
emphasis that this was one side effect that improved counter-intuitively with dose.”
Crognale Dep. 169:5-10 (Finkelstein Dec1., Ex. 10).

       Defendants’ Reply to Fact No. 2:            Plaintiff’s response ignores the sworn
testimony of Dr. Crognale:


                 Q.      Did you receive – do you recall receiving any information
                         directly from any representation of Warner-Lambert,
                         Parke-Davis or Pfizer about Neurontin?
                 A.      Yes.
                 Q.      Could you describe what the information was and how you
                         got it?
                 A.      The only recollection I have of any information from a drug
                         representative directly is in a conversation with a drug rep
                         who mentioned that the side effect of sedation improves
                         with increasing doses.


2
 “McGroder Decl.” refers to exhibits attached to the Declaration of Lori M. McGroder, Esq. in Support of
Defendants’ Reply in Support of Motion for Summary Judgment, filed March 12, 2009.

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                 Q.     So in other words, the more you take the less you’re
                        sedated?
                 A.     Yes.
                 Q.     The less you’re sedated or the more you’re sedated
                 A.     The less you’re sedated.
                 Q.     I’m sorry?
                 A.     The less you’re sedated.
                 Q.     When was that?
                 A.     I couldn’t pinpoint that specifically.
                 ***
                 Q.     Do you remember for what indication – do you remember
                        what indication was being discussed at the time?
                 A.     No, I do not.
                 Q.     Again, I’m sorry—
                 A.     That’s okay.
                 Q      -- a year, two years, several years ago?
                 A.     I can say it was within the last five years, but I can’t be sure
                        any more than that.
                 Q.     Okay. Is that the only contact you can recall with any
                        representative of Parke-Davis, Warner-Lambert or Pfizer
                        concerning Neurontin?
                 A.     That’s my only specific recollection.

                 Crognale Dep. 166:24-168:1, 170:2-16 (Sayler Decl., Ex. 1.)


         Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. The additional facts plaintiff cites
provide no evidence that defendants’ sales representative misrepresented a material fact on
which Dr. Crognale relied in prescribing Neurontin to Mrs. Bulger, and therefore, are
immaterial to plaintiff’s fraud claim. In fact, Dr. Crognale testified that neither his dosing
decision with regard to Mrs. Bulger, nor his decision to prescribe the drug was based on
this conversation with the sales representative. Crognale Dep. 171:6-13 (Sayler Decl., Ex.
1.)


         3.      Dr. Crognale’s decision to prescribe Neurontin to Mrs. Bulger “did not

 have anything to do with anything any representative of Pfizer, Warner- Lambert or

 Parke-Davis told [him].” Crognale Dep. 173:6-17 (Sayler Decl., Ex. 1.)

        Plaintiffs' Response to No. 3: Disputed. Plaintiff submits that paragraph 3 of
 Defendants’ Statement of Facts is incorrect or otherwise incomplete. As to his reliance
 on, or influence by a representative, Dr. Crognale’s prescribing decisions take into
 consideration medical knowledge, and “decisions made medically are not simply about


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pharmacokinetics, they’re about patients, and so I don’t think that I can be directed by
somebody that only knows the pharmacology of the medication.” Crognale Dep. 172:15-
20 (Finkelstein Dec1., Ex. 10). Dr. Crognale did not state that he did not consider what a
sales representative advised regarding pharmacokinectics in arriving at his determination
to prescribe a medication. Crognale Dep. 171:10-20 (Finkelstein Dec1., Ex. 10).
Dr. Crognale testified generally that he had received and accepted from pharmaceutical
representatives offers to go to dinner, that he was compensated for attending dinner
symposiums sponsored by a representative where there would be discussion of “problem-
based” or “drug-based” data. Crognale Dep. 188:1-189:11 (Finkelstein Dec1., Ex. 10).

       Defendants’ Reply to Fact No. 3:     Plaintiff’s response ignores the sworn
testimony of Dr. Crognale:

              Q.      Independent of the medical records, do you have any
                      recollection of why you prescribed Neurontin for Mrs.
                      Bulger?
              A.      No, I do not.
              Q.      Was it based on your, in an effort to refresh your
                      recollection, your experience with the drug and your
                      medical training?
              A.      Yes.
              Q.      Did it have anything to do with anything any representative
                      of Pfizer, Warner-Lambert or Parke-Davis told you?
              A.      No.


              Crognale Dep. 173:6-17 (Sayler Decl., Ex. 1.)

        Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. That Dr. Crognale testified
“generally” that he attended dinner symposiums is immaterial to plaintiff’s fraud claim,
as plaintiff has neither established that the symposiums were sponsored by defendants,
nor that Dr. Crognale was exposed to any alleged misrepresentation at one of the
symposiums that caused him to prescribe Neurontin to Mrs. Bulger.


       4.     Dr. Crognale could not recall any studies he relied on in prescribing

Neurontin for pain. Crognale Dep. 181:23-182:2 (Sayler Decl., Ex. 1.)

        Plaintiffs' Response to No. 4: Disputed. Plaintiff submits that paragraph 4 of
Defendants’ Statement of Facts is incorrect or otherwise incomplete. Dr. Crognale stated
that there were non-randomized control trials that provided him with a basis to prescribe
Neurontin. Crognale Dep. 182:18-23 (Finkelstein Decl., Ex. 10). Dr. Crognale read
journal articles that laid the foundation for his Neurontin prescriptions, but he would be
unable to go back and find these articles because he generally discards them. Crognale
Dep. 183:7-184:2 (Finkelstein Decl., Ex. 10).

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       Defendants’ Reply to Fact No. 4:       Plaintiff’s response ignores the sworn
testimony of Dr. Crognale:


                 Q.     And do you recall any of the studies that you’ve relied
                        upon to prescribe Neurontin for pain?
                 A.     No, not specifically.

                 Crognale Dep. 181:21-182:2 (Sayler Decl., Ex. 1.)

        Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. Plaintiff has not and cannot
identify any specific studies on which Dr. Crognale based his decision to prescribe
Neurontin for pain and consequently lacks evidence that Dr. Crognale was even exposed
to a misrepresentation made by defendants.


       5.        Dr. Crognale does not make his prescribing decision based on what a

pharmaceutical company sales representative tells him. Crognale Dep. 171:10-20 (Sayler

Decl., Ex. 1.)

       Plaintiffs' Response to No. 5: Disputed. Plaintiff submits that paragraph 5 of
Defendants’ Statement of Facts is incorrect or otherwise incomplete. As to his reliance
on, or influence by a representative, Dr. Crognale’s prescribing decisions take into
consideration medical knowledge, and “decisions made medically are not simply about
pharmacokinetics, they’re about patients, and so I don’t think that I can be directed by
somebody that only knows the pharmacology of the medication.” Crognale Dep. 172:15-
20 (Finkelstein Decl., Ex. 10).

               Dr. Crognale did not state that he did not consider what a sales
representative advised regarding pharmacokinectics in arriving at his determination to
prescribe a medication. Crognale Dep. 171: 10-20 (Finkelstein Decl., Ex. 10.) Dr.
Crognale testified generally that he had received and accepted from pharmaceutical
representatives offers to go to dinner, that he was compensated for attending dinner
symposiums sponsored by a representative where there would be discussion of “problem-
based” or “drug-based” data. Crognale Dep. 188:1-189:11 (Finkelstein Decl., Ex. 10).

       Defendants’ Reply to Fact No. 5:       Plaintiff’s response ignores the sworn
testimony of Dr. Crognale:


                 Q.     Do you make prescribing decisions based on what drug
                        company representatives tell you?
                 A.     No.


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                 Crognale Dep. 171:10-13 (Sayler Decl., Ex. 1.)

        Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. That Dr. Crognale testified
“generally” that he attended dinner symposiums is immaterial to plaintiff’s fraud claim,
as plaintiff has neither established that the symposiums were sponsored by defendants,
nor that Dr. Crognale was exposed to any alleged misrepresentation at one of the
symposiums that caused him to prescribe Neurontin to Mrs. Bulger.


       6.        Dr. Goldman testified that he does not recall ever having a conversation

with a Pfizer or Parke-Davis sales representative about Neurontin. Goldman Dep. 48:10-

14 (Sayler Decl., Ex. 4.)

       Plaintiffs' Response to No. 6: Undisputed; however, Dr. Goldman did not recall
having “specifically any conversations specific to Neurontin” with defendants sales
representatives. Goldman Dep. 48:10-14 (Finkelstein Decl., Ex. 11).

       Defendants’ Reply to Fact No. 6:       N/A

       7.        Dr. Goldman prescribed Neurontin based on his colleagues’ experience

and the benefits and risks to particular patients. Goldman Dep. 50:3-7, 204:11-21 (Sayler

Decl., Ex. 4.)

         Plaintiffs' Response to No. 7: Disputed. Plaintiff submits that paragraph 7 of
Defendants’ Statement of Facts is incorrect or otherwise incomplete. Dr. Goldman
testified he utilized, inter alia, both the PDR and an online formulary reference called
EPOCRATES for information in regard to prescribing. Goldman Dep. 17:15-18:10
(Finkelstein Decl., Ex. 11). Dr. Goldman, in discussing his prescribing practices and
risk/benefit analyses for prescribing a drug to Mrs. Bulger, wanted to know about (a)
Neurontin’s mechanism of action and Neurontin’s effect on neurochemistry (serotonin)
Goldman Dep. 178:12-19,197:2-17 (Finkelstein Decl., Ex. 11); (b) suicide attempts
during clinical trials Goldman Dep. 182:8-184:5 (Finkelstein Decl., Ex. 11); (c)
depression adverse events during clinical trials. Goldman Dep. 183:13-184:5 (Finkelstein
Decl., Ex. 11).

       Defendants’ Reply to Fact No. 7:       Plaintiff’s response ignores the sworn
testimony of Dr. Goldman:


                 Q.     In prescribing Neurontin for pain, Doctor, do you take into
                        account that it has certain advantages over other pain
                        medications?

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               A.      Whenever I prescribe a drug a make a decision based on
                       benefits and risks to particular patients, and usually would
                       prescribe a drug because I felt it hopefully would provide
                       some benefit to that patient.

               ***

               Q.      Fair to say you have no recollection other than that you
                       recall some vague comment by a neurologist or a
                       specialist?
               A.      I know that’s how I started using it [Neurontin], I
                       remember, you know, in general that on a patient that I may
                       have sent to a neurologist for a pain condition, either
                       initiated it or told me, you know, we’ve been using it.
                       Because again, when I prescribed it I usually explain to
                       patients that’s how I started using it, that’s why I use it.


               Goldman Dep. 49:24-50:7, 204:11-21 (Sayler Decl., Ex. 4.)

         Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment, and misstates Dr. Goldman’s
testimony. Dr. Goldman testified that he does not review the PDR regularly and that
“honestly, I don’t use it all that much,” because “it’s just not as easy to use.” He testified
that he uses a program called Epocrates, which he described as “a quick reference for
doctors.” Goldman Dep. 17:15-18:10 (McGroder Decl., Ex. 2.) Dr. Goldman also
testified that he could not recall whether he had ever reviewed the labeling for Neurontin,
or whether he reviewed the labeling when he prescribed Neurontin to Mrs. Bulger.
Goldman Dep. 43:17-44:4 (McGroder Decl., Ex. 2.) Further, what Dr. Goldman “wanted
to know” is immaterial to this fact, which deals with the bases for Dr. Goldman’s
decision to prescribe Neurontin.


       8.      Dr. Goldman does not recall reading any medical articles related to

Neurontin or attending conference where Neurontin was discussed.             Goldman Dep.

15:20-16:4, 203:14-204:2, 204:22-205:1 (Sayler Decl., Ex. 4.)

        Plaintiffs' Response to No. 8: Disputed. Plaintiff submits that paragraph 8 of
Defendants’ Statement of Facts is incorrect or otherwise incomplete. Dr. Goldman stated
that although journals and medical articles relating to Neurontin did not initially lead to
him prescribing it for pain, subsequently he did read such articles. Goldman Dep.
203:14-204:3 (Finkelstein Decl., Ex. 11). Goldman was not able to specifically identify
such articles. Goldman Dep. 204:22-205: 1 (Finkelstein Dec1., Ex. 11).



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       Defendants’ Reply to Fact No. 8:         Plaintiff’s response ignores the sworn
testimony of Dr. Goldman:


                Q.      Have you ever attended any seminars, dinners, conferences,
                        or anything of that nature concerning Neurontin?
                A.      I don’t remember specifically that I went to a particular
                        dinner or conference specifically about Neurontin. I cannot
                        say for certain that it was not mentioned in some
                        conference, but nothing specific to my recollection.

                **
                Q.      Do you ever read anything about Neurontin in journals or
                        summaries that led you to prescribe Neurontin for pain?
                A.      I don’t recall specifically reading something that caused me
                        to prescribe it. My recollection is that I—you know, the
                        reason I prescribed it for pain was that a neurologist or
                        some specialist told me or explained to me or suggested it
                        for a particular patient for a pain condition. It was not
                        something that I remember reading initially. I can’t say
                        that after that I didn’t read articles or things talking about
                        using it, but I don’t think—that was not the reason I used it
                        initially.

                **
                Q.      Do you recall any literature articles, medical journal
                        articles related to Neurontin at all that you’ve read?
                A.      Nothing specific, no, sorry.

                Goldman Dep. 15:20-16:4, 203:14-204:2, 204:22-205:1 (Sayler Decl., Ex.
                4.)

        Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment, and misstates Dr. Goldman’s
testimony. As noted above, Dr. Goldman testified that he could not recall specifically
reading any journal articles that caused him to prescribe Neurontin for pain, but that that
“I can’t say that after that I didn’t read articles or things talking about using it, but I don’t
think—that was not the reason I used it initially.” He never testified that he in fact read
articles regarding Neurontin.




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II.      DEFENDANTS’ RESPONSE TO PLAINTIFF’S FURTHER STATEMENT
         OF FACTS IN OPPOSITION TO DEFENDANTS’ MOTION FOR
         SUMMARY JUDGMENT

         Set forth below is each fact on which plaintiff relies in opposition to defendants’

Motion for Summary Judgment, along with defendants’ response to each:

         1.     Dr. Crognale provided Neurontin to Ms. Bulger for her for chronic pain

related to rheumatoid arthritis, as well as for anxiety and depression - all off-label,

unapproved uses (Finkelstein Decl., Ex. 10, at 66:23-67:22,130:22-131:6, 157:1-158:3,

165:11-165: 14; but see 165:17-165:20).


                Defendants’ Response to Fact No. 1: Disputed and immaterial. Dr.
Crognale testified that he prescribed Neurontin to Mrs. Bulger “because of her chronic
pain.” Crognale Dep. at 130:22-131:6 (Sayler Decl., Ex. 1.) (“Q. Other than having any
specific recollection of the conversation and having looked at the records today, do you
know why you put her on it? A. I would say I put her on it because of her chronic pain.”
He testified that he treated Mrs. Bulger for rheumatoid arthritis, chronic pain, depression
and anxiety. Crognale Dep. 66:24-67:22 (Sayler Decl., Ex. 1.) He also testified that,
although Mrs. Bulger was “having positive affects on things that would be considered
either affective symptoms or pain symptoms,” while on Neurontin, id. at 156:7-158:8
(McGroder Decl., Ex. 1), he could not tell from his records whether part of the purpose in
prescribing Neurontin was to address Mrs. Bulger’s depression. Crognale Dep. 165:17-
20 (Sayler Decl., Ex. 1.). Moreover, whether Mrs. Bulger was prescribed Neurontin for
on or off-label uses is immaterial to whether defendants committed fraud by
misrepresenting material facts on which Mrs. Bulger’s prescribers relied and which
caused them to prescribe Neurontin to her.

         2.     Prior to Ms. Bulger’s death, Defendants actively promoted Neurontin to

Susan Bulger’s physicians via direct sales representative detailing to the doctors’ offices.

Although Defendants acknowledge it was inappropriate to detail physicians other than

Neurologists and Epileptologists (Finkelstein Decl., Ex. 12, at 45:8-45:25; see Finkelstein

Decl., Ex. 13, at 009942).


              Defendants’ Response to Fact No. 2: Disputed, unsupported and
immaterial. First, plaintiff has failed to cite any support for the proposition that
defendants “actively promoted Neurontin to Susan Bulger’s physicians,” as required by

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Fed. R. Civ. P. 56(e) and Local Rule 56.1. Second, plaintiff’s claimed acknowledgement
by defendants that it was inappropriate to detail physicians other than Neurologists and
Epileptologists grossly misstates the record. Plaintiff cites the testimony of Lucy Castro,
who testified that, prior to the post herpetic neuralgia (PHN) approval, Pfizer only
allowed the sales field force to detail very specific physicians—neurologists and
epileptologists—and that this policy was put in place to specifically address and
affirmatively dispel the notion that Pfizer was promoting off-label. She never testified
that it was “inappropriate” to detail any physicians other than neurologists and
epileptologists. Moreover, she testified that, after the PHN approval (in 2002), Pfizer
began marketing the drug to primary care physicians. Castro Dep. 45:8-46:22 (McGroder
Decl., Ex. 3.) Exhibit 13, also cited by plaintiff, likewise provides no support for the
proposition that “defendants acknowledge it was inappropriate to detail physicians other
than Neurologists and Epileptologists.” Rather the document describes the policy for
detailing only “Neurologists and institution based epilepsy centers” as “a prudent[]
measure that can be taken to ensure that Pfizer avoids even the appearance of engaging in
inappropriate sales and marketing activity for Neurontin.” (Finkelstein Decl., Ex. 13, at
009942.)

       3.      Prior to Ms. Bulger’s death, Defendants detailed Ms. Bulger’s prescriber,

Dr. Dino Crognale, who was a general family medicine doctor (Finkelstein Decl., Ex. 10,

at 169:3- 170:23).


               Defendants’ Response to Fact No. 3: Disputed and immaterial. In the
cited excerpt, Dr. Crognale testified the only visit from a sales representative that he
could recall occurred “within the last five years.” He did not testify that the visit
occurred prior to Mrs. Bulger’s death. Crognale Dep. 169:3-170:23 (Sayler Decl., Ex. 1.)

       4.      Dr. Crognale did not recall all specific facts regarding sales detailing about

Neurontin at his office by Defendants’ sales representative (Finkelstein Decl., Ex. 10, at

170:12-170:23).


               Defendants’ Response to Fact No. 4: Undisputed.

       5.      Defendants detailed Ms. Bulger’s prescriber, Dr. Richard Goldman, an

internist (Finkelstein Decl., Ex. 11, at 13:1-13:5).


              Defendants’ Response to Fact No. 5: Disputed, but immaterial and
unsupported. Plaintiff has failed to support the assertion that Dr. Goldman was detailed
by defendants with record support as required by Fed. R. Civ. P. 56(e) and Local Rule

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56.1. Dr. Goldman in fact testified that he does not recall ever having a conversation or
any meetings with a Pfizer or Parke-Davis sales representative about Neurontin. He
speculated, however, that he was “sure [he] saw Pfizer representatives because [he] see[s]
representatives and Pfizer has a lot of representatives, and statistically I’m sure one of
them came into my office and gave me literature or samples on some drug that Pfizer
makes.” Goldman Dep. 48:10-49:5 (Sayler Decl., Ex. 4.) Moreover, Dr. Goldman’s
speculation regarding “some drug that Pfizer makes” is immaterial to plaintiff’s claim
that defendants committed fraud by misrepresenting material facts on which Mrs.
Bulger’s prescribers relied and which caused them to prescribe Neurontin to her.

       6.      Dr. Goldman acknowledged direct contact with Defendants’ sales

representatives, but could not recall specific discussions (Finkelstein Decl., Ex. 11, at 48:

10-50:23).


               Defendants’ Response to Fact No. 6: Disputed and immaterial. Dr.
Goldman testified that he does not recall ever having a conversation or any meetings with
a Pfizer or Parke-Davis sales representative about Neurontin. He speculated, however,
that he was “sure [he] saw Pfizer representatives because [he] see[s] representatives and
Pfizer has a lot of representatives, and statistically I’m sure one of them came into my
office and gave me literature or samples on some drug that Pfizer makes.” Goldman
Dep. 48:10-49:5 (Sayler Decl., Ex. 4.) Moreover, Dr. Goldman’s speculation regarding
“some drug that Pfizer makes” is immaterial to plaintiff’s claim that defendants
committed fraud by misrepresenting material facts on which Mrs. Bulger’s prescribers
relied and which caused them to prescribe Neurontin to her.

       7.      Dr. Goldman acknowledged his attendance at conferences, Finkelstein

Decl., Ex. 11, at 15:20-16:4; his consideration of journals; discussions with colleagues;

and his review of drug labels via the PDR or online EPOCRATES (Finkelstein Decl., Ex.

11, at 16:8-19:3,35:7- 36:5,41:16-41:20).


                Defendants’ Response to Fact No. 7: Disputed and immaterial. First,
Dr. Goldman in fact testified that he did not specifically remember attending any courses,
seminars, dinners or conferences about Neurontin. See Defendants’ Fact No. 8 (citing
Goldman Dep. 15:17-16:4 (Sayler Decl., Ex. 4.)) Similarly, Dr. Goldman testified that he
had not to his recollection had any conversations concerning Neurontin with other
physicians. Goldman Dep. 18:11-19:3 (McGroder Decl., Ex. 2.) Moreover, although Dr.
Goldman testified that he reviews a journal called Journal Watch, he never testified that
he relied on that Journal in prescribing Neurontin. Goldman Dep. 16:8-17:6 (Sayler
Decl., Ex. 4.) In fact, when asked, “do you recall any literature articles, medical journal
articles related to Neurontin at all that you’ve read,” Dr. Goldman responded, “nothing

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specific, no, sorry.” Goldman Dep. 204:22-205:1 (Sayler Decl., Ex. 4.) Whether Dr.
Goldman attended conferences, read journal articles, or had discussions with colleagues
about subjects other than Neurontin is immaterial to plaintiff’s fraud claim.


               Regarding the PDR, Dr. Goldman testified that he does not review the
PDR regularly and that “honestly, I don’t use it all that much,” because “it’s just not as
easy to use.” He testified that he uses a program called Epocrates, which he described as
“a quick reference for doctors.” Goldman Dep. 17:15-18:10 (McGroder Decl., Ex. 2.)
Dr. Goldman also testified that he could not recall whether he had ever reviewed the
labeling for Neurontin, or whether he reviewed the labeling when he prescribed
Neurontin to Mrs. Bulger. Goldman Dep. 43:17-44:4 (McGroder Decl., Ex. 2.)

       8.      Dr. Crognale explained that he relied upon the Physician’s Desk

Reference (PDR), a commercially published compilation of drug company labels, before

prescribing a drug (Finkelstein Decl., Ex. 10, at 16:17-17:13).


                Defendants’ Response to Fact No. 8: Disputed. Dr. Crognale testified
that he refers to the PDR before he prescribes a drug that he has not prescribed before.
He never testified that he relies on the PDR in general in prescribing medications, or that
he even reviewed the PDR before prescribing Neurontin to Mrs. Bulger, let alone that he
relied on the PDR for this purpose. In fact, he testified that he does not refer to the PDR
annually for drugs he prescribes on a regular basis. Crognale Dep. 16:17-17:17
(McGroder Decl., Ex. 1.)

       9.      Dr. Crognale’s practice is to discuss the side effects relevant to his patients

as set forth in a drug company’s label (Finkelstein Decl., Ex. 10 at 37:3-37:18).


                Defendants’ Response to Fact No. 9: Disputed, incomplete and
misleading. Dr. Crognale testified that, when prescribing a new prescription drug with
side effects for his patients, his “practice is to pick a handful of the most common side
effects listed in the PDR, or ones that are specifically relevant to them.” He does not
discuss all the side effects or risks that are listed with his patients. Crognale Dep. 37:3-21
(McGroder Decl., Ex. 1.)

       10.     Dr. Goldman testified he utilized both the PDR and an online formulary

reference called EPOCRATES Rx (Finkelstein Decl., Ex. 11, at 17:15-18:10).


              Defendants’ Response to Fact No. 10: Disputed. Dr. Goldman testified
that he does not review the PDR regularly and that “honestly, I don’t use it all that
much,” because “it’s just not as easy to use.” He testified that he uses a program called

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Epocrates on his PDA, which he described as “a quick reference for doctors.” Goldman
Dep. 17:15-18:10 (McGroder Decl., Ex. 2.) Dr. Goldman also testified that he could not
recall whether he had ever reviewed the labeling for Neurontin, or whether he reviewed
the labeling when he prescribed Neurontin to Mrs. Bulger. Goldman Dep. 43:17-44:4
(McGroder Decl., Ex. 2.)

       11.     Dr. Crognale expressly indicated that his bases for prescribing Neurontin

included (a) his communication with the medical community; (b) discussions with

colleagues at symposiums; (c) consideration of medical journals (Finkelstein Decl., Ex.

10, at 180:14-186:5).


                Defendants’ Response to Fact No. 11: Disputed. Although Dr.
Crognale testified that his general practice is to prescribe drugs for the first time primarily
after discussions with colleagues, review of some early literature and a risk versus benefit
determination, he could not recall any specific colleagues to whom he spoke who told
him that Neurontin was appropriate for the treatment of pain. Crognale Dep. 180:14-
181:8 (Sayler Decl., Ex. 1.) Moreover, while he testified that it is his practice to ask
colleagues in the setting of a symposium about their experience with a particular drug,
Crognale Dep. 181:14-181:16 (Sayler Decl., Ex. 1), he could not recollect any
symposiums where Neurontin or the treatment of pain was discussed. Crognale Dep.
189:12-22 (McGroder Decl., Ex. 1.) Finally, Dr. Crognale could not specifically recall
any studies he relied on to prescribe Neurontin for pain. He likewise could not provide
the titles or authors of (or journal in which) any articles that provided him a foundation
for prescribing Neurontin were published. Crognale Dep. 181:17-183:6 (Sayler Decl.,
Ex. 1.)

       12.     Both Dr. Crogna1e and Dr. Goldman, in discussing their prescribing

practices and risk/benefit analyses for prescribing a drug to Ms. Bulger, wanted to know

about (a) Neurontin’s mechanism of action and Neurontin’s effect on neurochemistry

(serotonin) (Finkelstein Decl., Ex. 10, at 195:12-196:6; Finkelstein Decl., Ex. 11, at

178:12-178:19; Finkelstein Decl., Ex. 11, at 197:2-197:17); (b) suicide attempts during

clinical trials (Finkelstein Decl., Ex. 10, at 191:11- 191:17; Finkelstein Decl., Ex. 11, at

182:8-184:5); (c) depression adverse events during clinical trials, Finkelstein Decl., Ex.

10, at 197:4-198:2 (Finkelstein Decl., Ex. 11, at 183:13-184:5); and (d) that patients



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taking Neurontin may suffer mood and behavioral disturbances (Finkelstein Decl., Ex.

10, at 200:5-200:14).


               Defendants’ Response to Fact No. 12: Disputed, incomplete and
immaterial. First, Dr. Crognale testified that he would also want to know: (1) that FDA
reviewer Cynthia McCormick never concluded that the Neurontin clinical data
affirmatively established or supported the conclusion Neurontin increases the risk of, or
causes, depression or suicidal behavior; (2) that the FDA’s scientific judgment in
December 1993 was that there was no reasonable evidence of an association with
Neurontin and suicidal behavior or any psychiatric adverse event; and (3) that in
connection with the approval of Neurontin for a second indication, FDA similarly drew
no conclusions with respect to an association between Neurontin and suicidal behavior.
Crognale Dep. 223:19-224:21 (McGroder Decl., Ex. 1.)

               Dr. Goldman repeatedly testified that he “like[s] to have as much
information as possible in general” when prescribing medications for his patients,
assuming that the information is relevant. For instance, a drug’s capacity to increase
depression is relevant depending on whether or not it is a significant or a rare occurrence.
Goldman Dep. 178:12-19, 180:23-184:5 (McGroder Decl., Ex. 2.) Regarding whether
Neurontin reduces serotonin, Dr. Goldman testified that this is just “one piece of
information that I’d want to know in terms of using a particular drug,” and that
“mechanism versus clinical sometimes are different.” Goldman Dep. 197:2-17
(McGroder Decl., Ex. 2.) In addition, Dr. Goldman testified that he would want to know
what the Neurontin trial data in the FDA Alert actually showed with respect to suicidality
to determine the risk of suicide or suicide attempt. Goldman Dep. 221:13-222:13
(McGroder Decl., Ex. 2.)

                Moreover, what Dr. Crognale and Dr. Goldman would have “wanted to
know” is immaterial to plaintiff’s fraud claim unless that information would have
changed the physicians’ decision to prescribe Neurontin to Mrs. Bulger, thereby
preventing Mrs. Bulger’s injury. Plaintiff has no affirmative evidence on this critical
issue. Dr. Crognale specifically testified that he was “not sure” whether he would have
prescribed Neurontin to Mrs. Bulger if he had the information he has today, including the
FDA Alert. Crognale Dep. 212:4-12 (McGroder Decl., Ex. 1.) Plaintiff has no testimony
that Dr. Goldman would have changed his prescribing decision and did not even ask the
question. Further, Dr. Goldman was not even sure that he would have warned Mrs.
Bulger had he been aware that Neurontin had the capacity to increase the risk of suicide,
testifying that he could “not say what [he] would have done.” Goldman Dep. at 191:7-17
(McGroder Decl., Ex. 2.)

       13.     Doctors Crognale and Goldman were detailed and had direct contact with

Defendants’ sales representatives who never disclosed depression/suicidality as a risk

with Neurontin (Finkelstein Decl., Ex. 14, at 19:13-20:15, 21:4-21:7).

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                Defendants’ Response to Fact No. 13: Disputed and incomplete.
Plaintiff omits that Michele Meager, a sales representative who called on Dr. Goldman
testified that she was never even asked about Neurontin’s alleged association with
adverse psychiatric experiences by any doctor she detailed. She accordingly never
advised any doctor about adverse psychiatric events or experiences. Meager Dep. 19:13-
20:15 (McGroder Decl., Ex 4.) Nor did she ever receive any inquiries from physicians
regarding potential suicide risks with Neurontin. Meager Dep. 49:14-50:1 (McGroder
Decl., Ex. 4.) Ms. Meager also testified that she did not discuss off-label use of
Neurontin with any doctor she ever serviced, including Dr. Goldman. Meager Dep.
19:9-12, 58:17-19 (McGroder Decl., Ex. 4.)

                Further, the cited deposition excerpts only provide support that Ms.
Meager detailed Dr. Goldman, not both Dr. Goldman and Dr. Crognale. Ms. Meager
testified that she had never even heard of Dino Crognale. Meager Dep. 58:20-22
(McGroder Decl., Ex. 4.)

       14.     Defendants did not disclose to Ms. Bulger’s prescribing medical providers

that Neurontin usage was associated with depression and/or suicidality.


                 Defendants’ Response to Fact No. 14:        Disputed and unsupported.
First, plaintiff has failed to cite to any support for this proposition, let alone set out
specific facts showing a genuine issue for trial, as required by Fed. R. Civ. P. 56(e) and
Local Rule 56.1. As such, he has not set forth any “fact” that would preclude summary
judgment. In addition, plaintiff is incorrect to the extent he suggests that defendants
provided no information regarding depression and suicide in the Neurontin label. Both
depression and suicidal behavior were listed as adverse events that occurred in the
Neurontin clinical trials at the time in which the physicians prescribed Neurontin to Mrs.
Bulger. See Neurontin Label at 24, 27-28 (May 2002) (McGroder Decl., Ex. 5.)

       15.     Defendants did not disclose to Ms. Bulger’s prescribing medical providers

that Neurontin usage increased the risk of depression and/or suicidality.


                 Defendants’ Response to Fact No. 15:        Disputed and unsupported.
First, plaintiff has failed to cite to any support for this proposition, let alone set out
specific facts showing a genuine issue for trial, as required by Fed. R. Civ. P. 56(e) and
Local Rule 56.1. As such, he has not set forth any “fact” that would preclude summary
judgment. In addition, plaintiff is incorrect to the extent he suggests that defendants
provided no information regarding depression and suicide in the Neurontin label. Both
depression and suicidal behavior were listed as adverse events that occurred in the
Neurontin clinical trials at the time in which the physicians prescribed Neurontin to Mrs.
Bulger. See Neurontin Label at 24, 27-28 (May 2002) (McGroder Decl., Ex. 5.)




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       16.     Defendants did not disclose to Ms. Bulger’s prescribing medical providers

that the FDA, in 1992, was concerned that Neurontin usage may worsen depression or

lead to suicide attempts.


                 Defendants’ Response to Fact No. 16:        Disputed and unsupported.
First, plaintiff has failed to cite to any support for this proposition, let alone set out
specific facts showing a genuine issue for trial, as required by Fed. R. Civ. P. 56(e) and
Local Rule 56.1. As such, he has not set forth any “fact” that would preclude summary
judgment. In addition, plaintiff is incorrect to the extent he suggests that defendants
provided no information regarding depression and suicide in the Neurontin label. Both
depression and suicidal behavior, including the adverse events that occurred in the
epilepsy clinical trials (which were discussed in FDA’s 1992 Review) subsequently
appeared in the FDA-approved labeling. See Neurontin Label at 24, 27-28 (May 2002)
(McGroder Decl., Ex. 5.)




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Dated: March 12, 2009              Respectfully submitted,



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                           CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order #3 on March 12, 2009.


                                                     /s/ David B. Chaffin
                                                     David B. Chaffin




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